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                                                                    UNITED STATES DISTRICT COURT
                                                                      FOR THE DISTRICT OF ALASKA



                                   RAYMOND C. GIVENS,
900 WEST FIFTH AVENUE, SUITE 700
 ANCHORAGE, ALASKA, 99501-2029
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                                                        Plaintiff,
                                       vs.
          (907) 277-9522
           Law Offices of




                                   LEROY OENGA, JR.,

                                                        Defendant.                      Case No. 3:21-cv-00008-HRH



                                                                  PLAINTIFF’S MOTION FOR
                                                             PREJUDGMENT WRIT OF ATTACHMENT




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                                            Plaintiff Raymond C. Givens, by his undersigned counsel, hereby moves,

                                   pursuant to Rule 64 of the Federal Rules of Civil Procedure, for a prejudgment writ of

                                   attachment. The basis for this motion follows.

                                   I.       INTRODUCTION

                                            The Alaska Superior Court recently ruled in Givens’ favor, in Leroy Oenga, Jr.,

                                   Petitioner, v. Raymond C. Givens, Respondent, Case No. 2BA-23-111CI,1 rejecting the

                                   application of Defendant Leroy Oenga, Jr., to vacate the Decision and Order of the Fee

                                   Arbitration Panel of the Alaska Bar Association, in Leroy Oenga, Jr., Petitioner, v.
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                                   Raymond Givens, Respondent, ABA File No. 2021F012.2 The Superior Court confirmed

                                   the arbitrators’ decision that Givens’ fee, incurred in representing the Oenga heirs to
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                                   increase the rent received for their Native allotment, was reasonable. In light of the

                                   decisions of the arbitrators and the Superior Court, Givens is likely to prevail in his

                                   action against Oenga before this Court. Accordingly, the Court should grant Givens’

                                   motion for a prejudgment writ of attachment now, under Rule 64.

                                            As noted in Givens’ motion to lift the stay of this action for purposes of filing the

                                   instant motion,3 for the past five years, Oenga has not paid Givens’ contingency fee

                                   from Oenga’s share of the annual rents from the Native allotment, which rents were


                                            1
                                                Docket No. 100-1 (Sealed).
                                            2
                                                Docket No. 67-1 (Sealed).
                                            3
                                                Docket No. 101.

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                                   dramatically increased due to Givens’ efforts. Oenga has paid nothing to Givens for

                                   years 2020, 2021, 2022, 2023, and 2024, keeping all those rent payments for himself.

                                   Under the contingency fee contract, as amended, Oenga was obligated to pay Givens a

                                   total of $239,654.01 from those rents. The basis for calculating that amount is shown in

                                   the table attached as Exhibit 1 to the Declaration of Raymond C. Givens [Filed Under

                                   Seal].4 To best understand the above, Givens urges the Court to review that table.

                                            As noted earlier, Givens’ motion for a prejudgment writ of attachment should be

                                   granted now for a very practical reason: The next rent payment to Oenga likely will be
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                                   made in August or September of 2024, and Givens wants to give the Court sufficient

                                   time to rule before then on his motion for a prejudgment writ of attachment. The instant
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                                   motion asks the Court for an order requiring Oenga to direct that the upcoming rental

                                   payment to him be transferred into the registry of the Court, or to such other account as

                                   the Court deems appropriate, to be held pending the outcome of this case.

                                            As noted earlier, Givens’ instant motion does not ask the Court to adjudicate the

                                   merits of his dispute with Oenga or to make payment to Givens. Instead, the motion

                                   simply asks the Court to rule that Givens is likely to prevail in this case, and to set aside

                                   the upcoming rent payment to Oenga so that it is available to either party at the end of

                                   the case. If Oenga prevails in this case, the funds will be returned to him. If Givens



                                            4
                                                Docket No. 103-1 (Sealed).

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                                   prevails, the funds will go to him. A prejudgment writ of attachment should be issued

                                   because Givens may have difficulty, for a number of reasons, in collecting the amount

                                   owed to him at the end of this case.

                                            Again, if a prejudgment writ of attachment is issued, the Court will, in effect, be

                                   granting a full, not just a partial, stay of this action. As things stand now, only Givens is

                                   being stayed, in that he has not been able to collect his fee from rents paid to Oenga

                                   during the last five years. On the other hand, Oenga is not being stayed at all: he has

                                   benefited during this time from the vastly increased rents—which include the fee owed
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                                   to Givens—that are the result of Givens’ successful legal efforts on behalf of the Oenga

                                   heirs. The Court should set aside the next rent payment to Oenga, so that it is available
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                                   to whichever party ultimately prevails in the action before this Court.

                                            As noted earlier, Givens files this motion for a writ of prejudgment attachment

                                   with this Court, rather than filing it with the Alaska Superior Court, because that court

                                   could not issue such a writ. In its review of the arbitrators’ decision, the Superior

                                   Court’s authority was narrowly limited, under AS 09.43.500 and Alaska Bar Rule 40(t),

                                   to vacating or affirming their decision that Givens’ fee was reasonable. In that context,

                                   the Superior Court lacked the jurisdiction or authority to enter a monetary judgment

                                   against Oenga for fees owed, and Givens could not and did not seek that result from that

                                   court. Accordingly, the Superior Court cannot issue a prejudgment writ of attachment.

                                   This Court, however, does have the jurisdiction and authority to enter a monetary

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                                   judgment against Oenga for fees owed, because Givens filed his complaint seeking such

                                   judgment with this Court, not with the Superior Court. Accordingly, only this Court has

                                   the jurisdiction and authority to issue a prejudgment writ of attachment.

                                            The companion case, Raymond C. Givens v. Joseph Delia, Case No. 3:23-cv-

                                   00121-HRH (the -121 case), has not been stayed.5 Givens has filed a motion for a

                                   prejudgment writ of attachment in that case. As the Court previously noted, the -121 and

                                   this action (the -008 case) raise common questions of law and fact6 and are heavily

                                   interrelated7: They concern the same land. They concern the same family. They concern
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                                   the same underlying litigation before the Court of Federal Claims. They concern the

                                   same settlement of that litigation. They concern the same attorney who worked on
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                                   behalf of the family. They concern the same contingency fee contract and amendments.

                                   They concern the same lessee of the land. They concern the same replacement lease.

                                   And they concern many of the same factual and legal issues.

                                            Givens understands that the Court wishes to avoid piecemeal litigation of the -

                                   008 and the -121 cases. Accordingly, the Court should grant at the same time the

                                   attachment motions in both the -008 case and the -121 case.




                                            5
                                                Docket No. 82, at 3, in the 008 case; Docket No. 20, at 3, in the -121 case.
                                            6
                                                Id.
                                            7
                                                Docket No. 83 in the -008 case; Docket No. 24 in the -121 case.

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                                   II.      THE STANDARD FOR ISSUANCE OF PREJUDGMENT
                                            WRIT OF ATTACHMENT
                                            The standard for the issuance by the Court of a prejudgment writ of attachment is
                                   summarized below.
                                            A.       Rule 64 Adopts State Law Regarding Prejudgment Attachment
                                            Rule 64 of the Federal Rules of Civil Procedure adopts the law of the state where
                                   the federal court is located for the issuance of prejudgment writs of attachment. That rule
                                   states, in relevant part:

                                                     (a) Remedies Under State Law—In General. At the
                                                         commencement of and throughout an action, every
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                                                         remedy is available that, under the law of the state where
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                                                         the court is located, provides for seizing a person or
                                                         property to secure satisfaction of the potential judgment.
                                                         ....
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                                                     (b) Specific Kinds of Remedies. The remedies available
                                                         under this rule include the following—however
                                                         designated and regardless of whether state procedure
                                                         requires an independent action:
                                                         ....
                                                         attachment
                                                         ....
                                   Accordingly, Alaska law regarding prejudgment writs of attachment applies here.
                                            That law is to be applied by this Court following federal court procedure. Wright
                                   & Miller, 11A Federal Practice and Procedure Civil § 2932 (3d. ed. 2023) states:

                                                    Except as otherwise provided by the Constitution of the United
                                                    States or an applicable statute, provisional remedies, which
                                                    authorize seizing a person or property to secure satisfaction of
                                                    the potential judgment, are available in a federal action if
                                                    authorized under the law of the state where the district court is
                                                    located.

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                                                     ****
                                                     Although state law ordinarily determines when and how a
                                                     provisional remedy is obtained, it has no effect on the
                                                     underlying action to which the provisional remedy is incident.

                                   Likewise, in Bahrain Telcoms. Co. v. DiscoveryTel, Inc., 476 F.Supp.2d 176, 183 (D.

                                   Conn. 2007), the court wrote:

                                                     Rule 64 thus authorizes a federal court to borrow relevant
                                                     state law on provisional remedies. And although the federal
                                                     civil rules govern the conduct of the action in federal court,
                                                     state law determines when and how a provisional remedy is
                                                     obtained.
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                                            B. Alaska Law Regarding Prejudgment Attachment
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                                            Prejudgment writs of attachment in Alaska are governed by AS 09.40.010 - .110,
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                                   and by Alaska Civil Rule 89. The requirements for the issuance of a writ are

                                   summarized below:

                                            • The action is based on an express or implied contract. AS 09.40.010(a)(1).

                                            • The contract is not secured. AS 09.40.010(a)(1).

                                            • The property to be attached is not exempt from execution. AS 09.40.030.

                                            • The plaintiff is likely to prevail in the action. Alaska Civil Rule 89(d).

                                            • The plaintiff’s motion is to be accompanied by his affidavit in support. Alaska

                                                 Civil Rule 89(b).

                                            • The defendant may request an evidentiary hearing. Alaska Civil Rule 89(c).




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                                            • The writ is to be issued in the amount of the existing debt due and owing.

                                                 (Alaska Civil Rule 89(b)(2).

                                            • The plaintiff shall provide sufficient sureties to protect the defendant if he

                                                 should prevail in the action. AS 09.40.020.

                                            • To implement the writ, the court has discretion in fashioning a mechanism of

                                                 securing payment that the court deems just. AS 09.40.010(b); Alaska Civil

                                                 Rule 89(j).

                                   III.     THE REQUIREMENTS FOR PREJUDGMENT ATTACHMENT
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                                            ARE MET HERE
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                                            The requirements under Alaska law for the issuance of a prejudgment writ of
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                                   attachment are met here. This can be seen from the following:

                                            A. Givens Claim Against Oenga Is Based on Both an Express
                                               Contract and an Implied Contract (AS 09.40.010(a)(1))

                                            Givens’ claim against Oenga is based on the following facts, all of which are

                                   undisputed: Oenga’s father and the other Oenga heirs entered into a written agreement

                                   with Givens in 2003, promising to pay him a contingency fee from future annual rents

                                   from the Oenga allotment if he succeeded in securing an increase in those rents. In 2011,

                                   the fee contract was amended, to the benefit of the Oenga heirs, to provide that Givens’

                                   fee would be paid only through 2036. In reliance on the promise that his fee would be

                                   paid from future rents, if they were increased, Givens devoted thousands of hours of

                                   time as an attorney representing the Oenga heirs in a difficult case, and he won a

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                                   spectacular victory for them, thereby increasing their annual rents more than seven-fold.

                                   When Oenga’s father died, Oenga inherited his father’s share of the allotment. Oenga

                                   initially agreed to pay Givens’ fee from future annual rents, but then Oenga stopped

                                   paying Givens, claiming that he was not legally obligated to do so.

                                            A writ of attachment can be issued “in an action upon an express or implied

                                   contract for the payment of money.” AS 09.40.010(a)(1). Givens’ claim against Oenga is

                                   for the payment of his fee based on both an express contract and an implied contract.

                                            Black’s Law Dictionary defines an “express contract” as “[a] contract whose
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                                   terms the parties have explicitly set out.” Givens’ claim against Oenga is based on the

                                   contingency fee contract, which is an express contract, under AS 09.40.010(a)(1).
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                                            Black’s Law Dictionary defines an “implied contract” as including both “[a]n

                                   implied-in-fact contract” and “[a]n implied-in-law contract.” An “implied-in-fact

                                   contract” is defined by that dictionary as “[a] contract that the parties presumably

                                   intended as their tacit understanding, as inferred from their conduct and other

                                   circumstances.” See, e.g., Society Financial, LLC v. MJ Corporation, 542 P.3d 1159,

                                   1166. (Alaska 2024). Givens claim against Oenga is based on the intent of the parties to

                                   the contingency fee contract that the obligation to pay Givens’ fee from annual rents

                                   would survive through 2036, even if a signatory to the contract died before then. See

                                   discussion below, at Section II.D.2.

                                            Black’s Law Dictionary defines an “implied-in-law contract” as follows:

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                                                     An obligation created by law for the sake of justice; specif.,
                                                     an obligation imposed by law because of some specific
                                                     relationship between them, or because one of them would
                                                     otherwise be unjustly enriched. An implied-in-law contract is
                                                     not actually a contract, but instead a remedy that allows the
                                                     plaintiff to recover a benefit conferred on the defendant.—
                                                     Also termed contract implied in law; quasi-contract;
                                                     constructive contract.

                                   See, e.g., Alaska Sales and Service, Inc. v. Millet, 735 P.2d 743, 745-46 (Alaska 1987).

                                            Givens’ claim against Oenga is based on the legally imposed duty that he

                                   inherited his father’s interest in the allotment subject to the obligation to pay Givens

                                   through 2036. Givens’ claim is also based on estoppel. Both claims are grounded in
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                                   equity and fairness—Oenga would be unjustly enriched if he could avoid paying
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                                   Givens—and both are “implied contracts,” under AS 09.40.010(a)(1). See discussion

                                   below, at Section II.D.2.

                                            B. The Contract Is Not Secured (AS 09.40.010(a)(1))

                                            It is undisputed that the contingency fee contract between Givens and the Oenga

                                   heirs is not secured.

                                            C. The Property to be Attached Is Not Exempt from Execution
                                               (AS 09.40.030)

                                            Givens does not ask the Court to attach property that is exempt from execution.

                                   Instead, Givens asks that the Court order Oenga to instruct the Bureau of Indian Affairs

                                   (“BIA”) and/or the Bureau of Trust Funds Administration (“BTFA”) to forward to the

                                   registry of the Court, or to such other account as the Court deems appropriate, Oenga’s

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                                   portion of the rent that is expected to be paid by Hilcorp Alaska LLC in August or

                                   September 2024 for year 2025.

                                            This Court entered a similar order in Givens v. Wallace Oenga, Case No. 3:19-cv-

                                   0043-HRH. There, the Court ruled, over the objection of the United States, that it could

                                   direct the Clerk of Court, standing in that defendant’s shoes under Rule 70(a) of the

                                   Federal Rules of Civil Procedure, to instruct the Office of Special Trustee (subsequently

                                   renamed the BTFA) to pay Givens’ fee from funds in that defendant’s Individual Indian

                                   Money (“IIM”) account. A fortiori, here the Court can order Oenga to instruct the BIA
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                                   and/or the BTFA to forward his portion of the rents to the registry of the Court, or to

                                   such other account as the directed Court deems appropriate.
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                                            Further, and in any event, the funds in Oenga’s IIM account are not exempt from

                                   execution under any of the defenses and affirmative defenses asserted by him. See

                                   discussion below.

                                            D. Givens Is Likely to Prevail in this Action (Alaska Civil Rule
                                               89(d))

                                            Givens is likely to prevail against Oenga in this action for the payment of Givens’

                                   contingent fee. This is the principal consideration for the Court regarding this motion for

                                   a prejudgment writ of attachment.




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                                            Given’s complaint asserts that Oenga breached his obligation to pay his share of

                                   Givens’ contingent attorney fee, as payment for Givens having dramatically increased

                                   the share of yearly rents that Oenga receives from the Native allotment.8

                                            Oenga’s answer to Givens’ complaint denies his obligation to pay Givens,

                                   asserting 18 affirmative defenses.9 As discussed below, Givens is likely to prevail

                                   regarding those defenses.

                                            A number of Oenga’s affirmative defenses are boilerplate, and he provides no

                                   support for them in his answer or elsewhere.10 There is no basis in fact or law for those
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                                   defenses. Accordingly, the Court should conclude that Givens is likely to prevail

                                   regarding them.
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                                            Four of Oenga’s affirmative defenses were advanced by him in proceedings

                                   before the Fee Arbitration Panel and before the Alaska Superior Court, in its review of




                                            8
                                                 Docket No. 1.
                                            9
                                                 Docket No. 15.
                                            10
                                              They include the following: (1) Plaintiff’s complaint fails to state a claim for
                                   which relief may be granted; (2) Plaintiff has failed to exhaust administrative remedies;
                                   (3) This Court lacks subject matter jurisdiction over the Complaint; (4) Plaintiff has
                                   failed to join necessary and indispensable parties; (6) Defendant has fully performed;
                                   (7) Plaintiff’s claims are barred by accord and satisfaction; (11) Plaintiff’s claims are
                                   time-barred; (13) The Complaint is barred by res judicata; (14) The claims are barred by
                                   judicial estoppel; and (16) Plaintiff breached the contract first.


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                                   the Panel’s decision.11 The decisions of the Panel and the Superior Court rejected those

                                   arguments. Those defenses and the decisions of the Panel and the Superior Court are

                                   discussed below.

                                            Finally, three of Oenga’s affirmative defenses were advanced by him before the

                                   Panel and the Superior Court,12 but neither addressed those defenses, instead deferring

                                   them for decision by this Court. For the reasons discussed below, this Court should

                                   conclude that Givens is likely to prevail regarding those defenses.

                                                     1. The Decisions of the Panel and the Superior Court
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                                            The Fee Arbitration Panel had little difficulty concluding that Givens’ fee is

                                   reasonable, under the standards of Alaska Bar Rule 35(a) and Alaska Code of
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                                   Professional Conduct 1.5(a). The Panel’s decision found that Givens had not acted

                                   unethically or inappropriately in his representation of the Oenga heirs. And the Panel’s

                                   decision found that the amendments to the contingency fee contract were appropriate, in

                                   that each reduced Givens’ fee.




                                            11
                                              They include the following: (8) Any agreement between Plaintiff and
                                   Defendant’s father is void for fraud, duress, and/or unconscionability; (9) The
                                   amendments to any agreements fail for lack of consideration; (12) Plaintiff’s claim for
                                   attorney’s fees is unreasonable as defined in Alaska R. Prof. Conduct 1.5; and (15)
                                   Plaintiff has unclean hands.
                                            12
                                             They include the following: (5) Defendant is not a party to any agreement
                                   with Plaintiff; (10) Plaintiff’s claims constitute an illegal encumbrance of restricted
                                   Native real property; and (17) Plaintiff’s claims are barred by Federal law.

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                                            As noted above, the Alaska Superior Court recently confirmed the Panel’s

                                   decision.

                                            Oenga is bound here by the Superior Court’s decision, even if he intends to

                                   pursue an appeal from it to the Alaska Supreme Court. In Robi v. Five Platters, Inc., 838

                                   F.2d 318 (9th Cir. 1988), the Ninth Circuit Court of Appeals wrote, regarding res

                                   judicata: “[A] decision rendered by a court of competent jurisdiction is presumptively

                                   correct.” Id., at 327 (internal citation and quotation marks omitted). The Ninth Circuit

                                   added: “[I]n federal courts . . . the preclusive effects of a lower court judgment cannot be
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                                   suspended simply by taking an appeal that remains undecided.” Id. (internal citation and

                                   quotation marks omitted). Likewise, 18A Wright & Miller, Federal Practice and
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                                   Procedure § 4433 states:

                                                     [T]he fact that an appeal is pending may not prevent an action
                                                     to register or enforce the prior judgment and does not prevent
                                                     attachment of the judgment debt as an asset of the judgment
                                                     creditor. This federal rule is binding when the preclusive
                                                     effects of a federal judgment are asserted in a state action, but
                                                     federal courts will honor the contrary rule of a state court
                                                     whose judgment is offered in a federal action.

                                            For the reasons stated above, Givens has prevailed regarding the following

                                   affirmative defenses asserted by Oenga: (8) (fraud, duress, unconscionability); (9) (lack

                                   of consideration); (12) (unreasonable fee); and (15) (unclean hands). At the least, the

                                   Court should conclude, for purposes of the instant motion, that Givens is likely to

                                   prevail regarding those defenses.

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                                            This leaves only the following affirmative defenses asserted by Oenga, which

                                   were not addressed by the Panel or the Superior Court, to be considered here by this

                                   Court: (5) (Oenga did not sign the contingency contract); (10) (illegal encumbrance of

                                   restricted allotment); and (17) (barred by federal law). For the reasons discussed below,

                                   this Court should conclude that Givens is likely to prevail regarding those defenses.

                                                     2. Givens Is Likely to Prevail in His Argument that
                                                        Oenga Is Obligated to Pay Givens’ Fee, Even Though
                                                        Oenga Did Not Sign the Contingency Fee Contract, as
                                                        Amended
                                            Oenga argues that he is not obligated to pay Givens’ fee from the annual rents of
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                                   the allotment because he was not a party to any agreement with Givens. Oenga’s
                                   affirmative defense (5). As noted above, the Panel and the Superior Court did not
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                                   address that argument, deferring it for decision by this Court. For the following reasons,
                                   Givens is likely to prevail in his argument that Oenga inherited his interest in the
                                   allotment subject to the obligation to pay Givens under the terms of the contingency fee
                                   contract. A contrary conclusion would result in unjust enrichment to Oenga.
                                            Alaska Statute 13.16.005 states, in relevant part: “[U]pon the death of a person,
                                   that person’s real and personal property devolves to the persons to whom it is devised by
                                   the last will . . . subject to . . . rights of creditors.” The contingent fee contract was
                                   signed by Oenga’s father. There, Oenga’s father promised to pay Givens fee from annual
                                   rents received from the Oenga allotment through 2036. Oenga inherited his interest in
                                   the allotment subject to that obligation.




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                                            The Alaska courts often follow the Restatements of Laws. Relevant here are the
                                   following provisions of Restatement (Third) of Property (Servitudes) (2000)
                                   (“Restatement”):

                                                     § 1.3: Covenant Running with Land, Affirmative,
                                                     Negative, and Restrictive Covenants Defined
                                                     (1) A covenant is a servitude if either the benefit or the
                                                     burden runs with the land. A covenant that is a servitude
                                                     “runs with land.”
                                                     (2) The nature of the burden determines whether a covenant is
                                                     affirmative or negative. An “affirmative covenant” requires
                                                     the covenantor to do something; a “negative covenant”
                                                     requires the covenantor to refrain from doing something.
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                                   Comment d to this section of the Restatement gives as an example of a covenant running
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                                   with the land the requirement that new lot owners pay money to a third party who

                                   provides a benefit to the lots:

                                                     “[D]eveloper agreed to and did impose covenants on all the
                                                     lots requiring lot owners, and their successors, to pay for the
                                                     water [provided by Water Company]. The covenants
                                                     requiring payment for the water are servitudes because the
                                                     burden runs with the land, automatically binding successors.

                                   Comment e to this section states, more generally, that the obligation to pay money to a

                                   third person can be a covenant running with the land:

                                                      Affirmative covenants call for the payment of money, the
                                                     supply of goods or services, or the performance of some other
                                                     act, either on or off land owned or occupied by the
                                                     covenantor.



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                                   See, e.g., Lake Limerick Country Club v. Hunt Mfg. Homes, Inc., 84 P.3d 295, 301
                                   (Wash. App. 2004) (duty to pay dues to homeowners’ association is a covenant running
                                   with the land, automatically binding new owners).

                                            The following provisions of the Restatement are relevant here as
                                   well:

                                                     § 4.1. Interpretation of Servitudes
                                                      A servitude should be interpreted to give effect to the
                                                     intention of the parties ascertained from the language used in
                                                     the instrument, or the circumstances surrounding creation of
                                                     the servitude, and to carry out the purpose for which it was
                                                     created.
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                                                     ****
                                                     § 4.7. Delegability and Transfer of Servitude Burdens
                                                     A burden that is appurtenant to an interest in property is
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                                                     transferred to successors to that interest under the rules stated
                                                     in § 5.1.

                                                     ****
                                                     § 5.1. An Appurtenant Benefit or Burden Passes
                                                     Automatically
                                                     An appurtenant benefit or burden transferable under the rules
                                                     states in §§ 4.6 and 4.7 passes automatically with the property
                                                     interest to which it is appurtenant.

                                                     § 5.2. Persons to Whom an Appurtenant Benefit or
                                                     Burden Runs
                                                     [A]n appurtenant benefit or burden runs to all subsequent
                                                     owners and possessors of the benefited and burdened
                                                     property.

                                            As can be seen from the above, Oenga’s inheritance of his father’s interest in the

                                   allotment was subject to the obligation to pay Givens’ fee from annual rents, as a


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                                   covenant running with the land. That is, the interest in the allotment inherited by Oenga

                                   was impressed by the contingency fee contract. This is true even though Oenga’s

                                   father’s will did not expressly state that this burden ran to his “heirs and assigns.”

                                   Although there are no Alaska cases on point, in Berardi v. Ohio Turnpike Commission,

                                   205 N.E.2d 23, 27 (Ohio App. 1965), the court wrote:

                                                     The use of the word ‘assigns' or ‘heirs and assigns' is not
                                                     necessary or essential to create a covenant running with the
                                                     land, and in determining whether a covenant will run with the
                                                     land the material inquiries are whether the parties intended to
                                                     impose such burden on the land and whether it is one that
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                                                     may be imposed consistently with principle and equity.
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                                   Accord, LuMac Dev. Corp. v. Buck Point Ltd. Partnership, 573 N.E.2d 681, 684 (Ohio
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                                   App.1988).

                                            The Alaska courts also often rely on legal treatises and commentary. Relevant

                                   here, see 3 PATTON AND PALOMAR ON LAND TITLES, § 525 (“The devisee takes title

                                   subject to all equities and liens that were against the title in the hands of the testator”); 5

                                   TIFFANY REAL PROPERTY § 156 (“An ‘equitable lien’ is created by a provision, in a

                                   conveyance inter vivos or in a will, charging the land, in the hands of the grantee or

                                   devisee, with the payment of debts or legacies.”); Rights and remedies in respect of

                                   legacy charged upon land devised, 116 A.L.R. 7 (“the court will conclusively presume

                                   that the testator intended his debts to be paid at all hazards . . . [and] will enforce the

                                   payment of the testator’s debts, to the exclusion of bequests and devises.”).


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                                            Oenga’s obligation to pay Givens from annual rents is based on a contractual

                                   provision implied in fact. In Societe Financial, LLC v. MJ Corporation, 542 P.3d 1159

                                   (Alaska 2024), the Alaska Supreme Court wrote: “In the absence of an express contract,

                                   an implied contract may still exist where the court finds from the surrounding facts and

                                   circumstances that the parties intended to make a contract but failed to articulate their

                                   promises.” Id., at 1166 (internal quotation marks and citation omitted). Here, although

                                   the contingency fee contract did not expressly refer to the payment obligation running to

                                   the “heirs and assigns” of the signatory Oenga heirs, it need not have done so, as that
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                                   intent was clear. That is, the contingency fee contract included an implied-in-fact

                                   covenant that Givens’ fee would be paid from annual rents through 2036, even if a
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                                   signatory to the contract died before then. This is evident from the following:

                                            • At the time of signing the contingency fee contract and its amendments, no

                                                 one could have expect that all the signatory heirs would live until 2036.

                                            • A signatory heir could not avoid payment to Givens by assigning while living

                                                 his or her interest in the allotment to a child or relative.

                                            • The payment obligation to Givens of 25% of future rents was not

                                                 broken down individually for each signatory heir in the contingency

                                                 fee contract, as amended. Instead, this was and is a payment

                                                 obligation of each heir, jointly and severally. If Oenga can now

                                                 avoid making payment to Givens because he was not a signatory of

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                                                 fee contract, that would have the effect of increasing the payment

                                                 obligations of the remaining Oengas.

                                            In Williams Alaska Petroleum, Inc. v. State, 529 P.3d 1160 (Alaska 2023), the

                                   Alaska Supreme Court wrote: “Questions of contract interpretation are generally

                                   questions of law which we review de novo; but fact questions are created when the

                                   meaning of contract language is dependent on conflicting extrinsic evidence.” Id., at

                                   1176 (internal quotation marks and citation omitted). Here, the Court need hold no

                                   evidentiary hearing to determine that the contingency fee contract, as amended, must be
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                                   interpreted to require Oenga to pay Givens’ fee from annual rents through 2036.

                                             In addition, Oenga’s obligation to pay Givens from annual rents is based on a
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                                   contract implied in law. As noted above, Givens expended considerable time and effort

                                   to secure significantly higher rents from the Oenga allotment. As a result of those

                                   efforts, Oenga receives much higher annual rents than he would otherwise have

                                   received.

                                             In Alaska Sales and Service, Inc. v. Millet, 735 P.2d 743 (Alaska 1987), the

                                   Alaska Supreme Court wrote:

                                                     A person who has been unjustly enriched at the expense of
                                                     another is required to make restitution to that person. A
                                                     person is enriched if he receives a benefit; a person is unjustly
                                                     enriched if the retention of the benefit without paying for it
                                                     would be unjust. . . .

                                   Id., at 746 (internal quotation marks and citations omitted). It would be unfair to Givens,

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                                   and would result in unjust enrichment to Oenga, if Oenga is not required to pay Givens’

                                   contingent fee from Oenga’s share of the allotment’s annual rents.

                                            For the reasons stated above, Givens is likely to prevail in his argument that

                                   Oenga is obligated to pay Givens’ fee from Oenga’s share of the annual rents paid for

                                   the allotment, even though he did not sign the contingency fee contract and its

                                   amendments.

                                                     3. Givens Is Likely to Prevail in His Argument that the
                                                        Contingency Fee Contract Did Not Violate Federal
                                                        Law
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                                            Oenga argues that Givens’ contingency fee contract with the Oenga heirs is

                                   unenforceable because it violated federal law. Oenga’s affirmative defenses (10) and
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                                   (17). As noted above, the Panel and the Superior Court did not address those

                                   arguments, deferring them to this Court. For the reasons discussed below, Givens is

                                   likely to prevail in his argument that the fee agreement did not violate federal law.

                                                               a. Givens is Likely to Prevail in His Argument that
                                                                  the Contingency Fee Contract Did Not Violate
                                                                  ANCSA

                                            Oenga argues that the contingency fee contract violated Section 22(a) of the

                                   Alaska Native Claims Settlement Act (“ANCSA”), 43 U.S.C. § 1621(a). Oenga’s

                                   affirmative defense (17). Oenga placed principal reliance on Leisnoi, Inc. v. Merdes &

                                   Merdes, PC, 307 P.3d 879 (Alaska 2013). However, that decision is readily

                                   distinguishable.

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                                            Lesnoi dealt with an attorney’s fee claimed against land conveyed to an Alaska

                                   Native corporation under ANCSA. The Lesnoi court held that the fee was a violation of

                                   Section 22(a) of ANCSA, which prohibits a fee against “lands granted by this Act.”

                                            Here, in contrast, the Oenga allotment was not land granted by ANCSA to a

                                   Native corporation. Instead, it was land granted under the Alaska Native Allotment Act

                                   of 1906, 34 Stat. 197, to Andrew Oenga, an individual. Although ANCSA repealed the

                                   1906 Act, ANCSA included a savings clause for allotment applications that were filed

                                   before the date of ANCSA’s enactment. Section 18(a) of ANCSA, 43 U.S.C. §
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                                   1617(a). It is undisputed that Andrew Oenga filed his allotment application under the

                                   1906 Act before the date of enactment of ANCSA, which application was accordingly
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                                   preserved by ANCSA’s savings clause. Accordingly, Section 22(a) of ANCSA and

                                   Lesnoi have no application here.

                                                               b. Givens is Likely to Prevail in His Argument that
                                                                  the Contingency Fee Contract Need Not Have
                                                                  Been Approved by the United States

                                            Oenga argues that the contingency fee contract between Givens and the Oenga

                                   heirs is invalid and unenforceable because it was not approved in advance by the

                                   United States, under 25 U.S.C. § 410 and 25 U.S.C. § 348. Oenga’s affirmative defense

                                   (10). As noted above, although Oenga made that argument to the Panel and the

                                   Superior Court, they did not address it, deferring the decision to this Court. For the



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                                   reasons discussed below, Givens is likely to prevail in his argument that the fee

                                   agreement need not have been approved by the United States.

                                            Oenga relies on Law Offices of Vincent Vitale, P.C. v. Tabbytite, 942 P.2d 1141

                                   (Alaska 1997). However, that decision is inapposite for the following reasons.

                                            First, the Alaska Native client in Vitale had not signed a fee agreement

                                   promising to pay the attorney from the client’s IIM account. Here, in contrast, the

                                   Oenga heirs, including Oenga’s father, had signed such a fee agreement.

                                            Further, the attorney in Vitale represented a Native client against the
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                                   Municipality of Anchorage for money owned on a claim of inverse condemnation.

                                   Here, in contrast, Givens represented the Oenga heirs against the United States for its
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                                   breach of trust in failing to obtain fair market rent for their allotment. Givens did not

                                   first seek the United States’ approval of his fee contract with Oenga heirs because he

                                   believed the government likely would not approve it or would insist on terms that

                                   would dissuade Givens from taking the case in the first place. Unlike in Vitale, in this

                                   circumstance federal statutes that require the consent of the United States to a fee

                                   agreement concerning a Native allotment have no application. This can be seen from

                                   cases applying longstanding principles of equity and trust law.

                                            In United States v. Equitable Trust Company of New York, 283 U.S. 738 (1931),

                                   the Supreme Court ruled that attorneys could be paid their fee from the proceeds they

                                   successfully recovered concerning an Indian allotment, even though approval of their

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                                   fee agreement by the United States, under a federal statute enacted to protect allottees,

                                   had not been obtained. Equitable Trust stated:

                                                     It is a general rule in courts of equity that a trust fund which
                                                     has been recovered or preserved through their intervention
                                                     may be charged with the costs and expenses, including
                                                     reasonable attorney’s fees, incurred in that behalf.

                                                     ****
                                                      We make the assumption that the restrictions had
                                                     substantially the same application to the fund that they had
                                                     to the land from which it was derived, but we think the
                                                     [government’s] argument carries them beyond their purpose
                                                     and the fair import of their words. Without doubt they were
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                                                     intended to be comprehensive and to afford effective
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                                                     protection to the Indian allottees, but we find no ground for
                                                     thinking they were intended to restrain courts of equity
                                                     when dealing with situations like that disclosed in this
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                                                     litigation from applying the rules which experience has
                                                     shown to be essential to the adequate protection of a
                                                     wronged cestui que trust . . .

                                   Id., at 744-45.

                                            In Arenas v. Preston, 181 F.2d 62 (9th Cir. 1950), the Ninth Circuit Court of

                                   Appeals applied the principles stated in Equitable Trust to facts similar to those present

                                   here. In Arenas, an attorney successfully represented an Indian in a suit against the

                                   United States claiming the government had breached its trust duty to the Indian by

                                   failing to award him a restricted allotment. The attorney and his client had signed a

                                   contingency fee agreement giving the attorney a lien against the allotment to secure his

                                   fee, if the litigation succeeded. The United States challenged the lien, arguing that it


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                                   was invalid because the government had not approved the fee agreement, as required

                                   by a federal statute enacted to protect Indian allottees.

                                            Relying on Equitable Trust, the Ninth Circuit in Arenas concluded that the lien

                                   was valid, even though the attorney had not obtained the government’s approval of the

                                   fee agreement. Applying the principles stated in Equitable Trust, the Arenas court

                                   wrote:

                                                     Without doubt [the restrictions] were intended to be
                                                     comprehensive and to afford effective protection to the
                                                     Indian allottees, but we find no ground for thinking they were
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                                                     intended to restrain courts of equity when dealing with
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                                                     situations like that disclosed in this litigation from applying
                                                     the rules which experience has shown to be essential to the
                                                     adequate protection of the wronged cestui que trust . . .
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                                                     *****
                                                     Appellant United States in the instant case makes practically
                                                     the same argument as it made in the Equitable case. That is,
                                                     that the court cannot apply the general rule, to wit: That a
                                                     court of equity may settle incidental questions as well as
                                                     fundamental questions, because the applicable statutes in
                                                     this case do not specifically authorize it. It is also argued
                                                     that as to our case the applicable statute does not authorize
                                                     the impression of a lien upon property, because its
                                                     foreclosure would have the effect of disposing of a part of
                                                     the property. But the Supreme Court rejected the argument
                                                     by saying that it was intended that the restrictions on the
                                                     allotted land, which apply as well to produce from the land,
                                                     should afford protection to the allottee, rather than to restrict
                                                     courts of equity from giving such protection.

                                                     Since the restrictions on the land and its produce are one and
                                                     the same and since attorney fees and expenses necessary to
                                                     protect the fund can be paid out of the fund, it follows that

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                                                     so much of the land as is necessary to satisfy the lien can be
                                                     resorted to for these necessary expenses.

                                                     The appellant’s argument carries it to the cruelly farcical
                                                     posture that the government must protect the Indian by
                                                     strictly preventing any diminution of the allotted land even
                                                     though by exercising such protection the Indian without
                                                     funds cannot have any part of his rightful allotment of the
                                                     land. It must be remembered that the fundamental
                                                     consideration is the protection of a dependent people. . . And
                                                     legislation must be construed in the way most favorable to
                                                     the Indian.

                                                     ****
                                                     When the United States authorized the Indian to make the
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                                                     United States an adversary party in its own courts, it did so
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                                                     knowing that the Indian by himself was incapable of taking
                                                     advantage of the privilege and that attorney fees and other
                                                     expenses would be the unavoidable concomitant. It also
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                                                     knew that the Indian litigant, with few exceptions, was
                                                     without the means to meet the necessary expenses. It seems
                                                     to us that Congress could not have intended to commit the
                                                     subject to its courts with any paralyzing limitation but, in
                                                     committing the subject to its courts it intended them to fully
                                                     exercise their general equitable jurisdiction. The chancellor
                                                     will, of course, see to it that no unconscionable fee or
                                                     extravagant expenditure will be allowed and will protect the
                                                     allotment from being affected in the slightest unnecessary
                                                     manner or degree.

                                   Id., at 66-67 (internal citations omitted.)

                                            The principles stated in Equitable Trust and Arenas remain the law. Bogert’s

                                   The Law of Trusts and Trustees (“Bogert on Trusts”) § 871 (2023) states:

                                                     In suits to enforce the rights of trust beneficiaries the court
                                                     exercises discretion as to the allowance of attorney fees and
                                                     costs, either from the trust estate or from other sources.

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                                                     In exercising its discretion in these matters the court will
                                                     consider whether the plaintiff or other party was successful
                                                     in obtaining the relief requested or in defending or
                                                     conserving the trust estates, for example, by protecting the
                                                     trust against an unjust claim. The court may also consider
                                                     whether the successful party benefited or enhances the trust
                                                     estate in deciding whether his attorneys’ fees should be
                                                     awarded from the trust estate. These considerations are
                                                     sometimes expressed as the common fund doctrine or the
                                                     substantial benefit rule, either of which allows the successful
                                                     party reasonable attorneys’ fees.

                                   See also du Pont v. Southern National Bank of Houston, Texas, 771 F.2d 874, 883 (5th
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                                   Cir. 1985) (citing Equitable Trust, the court wrote: “[W]hen an attorney ad litem acts
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                                   to preserve a trust for the benefit of a minor, then his expenses, although not taxable as
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                                   costs, can be recovered from the trust.”).

                                            The facts of the instant action are analogous to those present in Equitable Trust

                                   and Arenas. Givens successfully represented allottees in a suit for breach of trust

                                   against the United States. The suit was brought under the Tucker Act of 1887, 28

                                   U.S.C. §§ 1346(a) and 1491. That Act waived the United States’ sovereign immunity

                                   from suits for damages based on claims of breach of a fiduciary duty. Under the

                                   principles stated in Equitable Trust and Arenas and recognized in Bogert on Trusts,

                                   federal statutes enacted to protect the interests of Indians and Alaska Natives in their

                                   allotments, which statutes require the approval of the United States of attorney’s fee

                                   contracts that touch the allotments, cannot be read, in light of the Tucker Act’s waiver


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                                   of sovereign immunity, to effectively prevent those Indians or Natives from being able

                                   to hire attorneys to sue the United States for breach of trust regarding those allotments.

                                            Although in Vitale the Alaska Supreme Court declined to apply Arenas to affirm

                                   payment of an attorney’s fee from the proceeds of a restricted Native allotment, 942

                                   P.2d at 1148, as noted above the attorney there had not sued the United States for

                                   breach of trust, as in Arenas and as here. And again, the fee agreement in Vitale did not

                                   include an express promise by the client to pay the attorney from income generated by

                                   the allotment, as in Arenas and as here.
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                                            As noted above, Oenga argues that the contingent fee contract between Givens

                                   and the Oenga heirs is invalid because Givens had not obtained the approval of that
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                                   contract by the United States, under 25 U.S.C. § 348 and 25 U.S.C. § 410. However,

                                   under the principles stated in Equitable Trust and Arenas and recognized in Bogert on

                                   Trusts, Congress cannot be presumed to have intended those statutes to be applied to

                                   effectively insulate the United States from suit for breach of trust.

                                            E. This Motion Is Supported by Plaintiff’s Declarations (Alaska
                                               Civil Rule 89(b))

                                            Under the Alaska civil rules, a motion for a prejudgment writ of attachment is to

                                   be supported by an affidavit of the plaintiff. Because this motion is governed by the

                                   federal civil rules, a declaration can be used instead. The instant motion is supported by




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                                   both the accompanying Declaration of Raymond C. Givens [Not Filed Under Seal] and

                                   the accompanying Declaration of Raymond C. Givens [Filed Under Seal].

                                            F. The Court Need Not Hold a Hearing on this Motion (Alaska
                                               Civil Rule 89(c))

                                            Although the Alaska rules of procedure provide that a defendant may request a

                                   hearing on a motion for a prejudgment writ of attachment, the federal rules of

                                   procedure apply here. This Court has discretion under its local civil rules to decide

                                   whether a hearing is necessary. Local Rule 7.1(f) and (g). Givens submits that a
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                                   hearing is not necessary here because there are no factual issues to be resolved, and the
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                                   Court can rely on briefing by the parties to resolve the issues of law. If the Court
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                                   disagrees, Givens requests that, consistent with the purpose of Alaska Civil Rule 89(c),

                                   that hearing be scheduled soon.

                                            G. The Writ Should Attach to the Amount of the Existing Debt
                                               Due and Owing, Which Is $239,654.01, Plus Accrued
                                               Prejudgment Interest (Alaska Civil Rule 89(b)(2))

                                            The writ should attach to the existing debt due and owing. As noted above,

                                   Oenga has not paid Givens from Oenga’s share of rents paid for years 2020, 2021,

                                   2022, 2023, and 2024. As of the date of the instant motion, the total principal amount

                                   owed is $239,654.01. See the accompanying Declaration of Raymond C. Givens (Filed

                                   Under Seal). Because this is a diversity action, prejudgment interest at the Alaska rate

                                   of 8.5% is also owed, to be calculated at the date of issuance of the writ.


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                                            H. Givens Will Provide Any Sureties Required by the Court
                                               Before Issuance of the Writ (AS 09.40.020)

                                            A prejudgment writ of attachment may be issued by the Court upon Givens

                                   providing sufficient sureties, as ordered by the Court. Givens will provide such sureties

                                   as may be ordered.

                                            I. The Court Should Order Oenga to Instruct the BIA and/or
                                               the BTFA to Pay the Attached Funds into the Registry of the
                                               Court (AS 09.40.010(b); Alaska Civil Rule 89(j))

                                            Under Alaska law, to implement the writ of attachment, the Court has discretion
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                                   in fashioning a mechanism of securing payment that the Court deems just. Further, the
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                                   Court has the inherent authority to enforce its orders and writs. Spallone v. United
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                                   States, 493 U.S. 265, 276 (1990).

                                            To implement the writ of attachment, the Court should order Oenga to instruct

                                   the BIA and/or the BTFA to pay from Oenga’s share of the rent, expected to be paid in

                                   August or September of 2024, for year 2025 rent, the attached funds into the registry of

                                   this Court, or to such account as the Court deems appropriate.13




                                            13
                                             It is likely that there will not be sufficient funds paid to Oenga in August or
                                   September of 2024 for year 2025 rent to pay the full amount of the writ. See Declaration
                                   of Raymond C. Givens [Filed Under Seal]. In that event, and if this action is not
                                   resolved before then, Givens will file a motion for a supplemental writ of attachment
                                   regarding rent that will be paid in the August or September of 2025, for year 2026.
                                   Givens reserves the right to supplement the instant motion to attach future rent
                                   payments to Oenga.

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                                   IV.      CONCLUSION

                                            For the reasons stated above, the Court should issue a prejudgment writ of

                                   attachment in the amount of $239,654.01, plus accrued prejudgment interest. To

                                   implement the writ, the Court should order Oenga to instruct the BIA and/or the BTFA

                                   to pay that amount into the registry of this Court, or to such account as directed by the

                                   Court. That payment should be made from the rent payment that is expected to be

                                   made by Hilcorp in August or September of 2024, for year 2025.

                                            A proposed order and a proposed writ of attachment accompany this motion.
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                                            DATED: June 11, 2024
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                                                                                 RUSSELL L. WINNER
                                                                                 WINNER & ASSOCIATES, P.C.
                                                                                 Attorneys for Plaintiff Raymond C. Givens


                                                                                 By:    /s/ Russell L. Winner
                                                                                        Russell L. Winner
                                                                                        Alaska Bar No. 7811179



                                                                                Certificate of Service

                                          I hereby certify that a copy of the foregoing document was served electronically
                                   on the attorneys of record through the Court’s CM/ECF System.

                                                                                 /s/ Russell L. Winner
                                                                                 Russell L. Winner




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